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 9             UNITED STATES DISTRICT COURT
10        FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                         Case No. Misc. 21-43 DMG (MRWx)
13   UNITED STATES OF AMERICA,
14                   Petitioner,
                                         JUDGMENT
15              v.
16   SPACE EXPLORATION
     TECHNOLOGIES CORP. d/b/a
17   SPACEX,
18                   Respondent.
19
20         Pursuant to the Order Accepting Findings and Recommendations of the
21   United States Magistrate Judge,
22         IT IS ADJUDGED that that the government’s application for
23   enforcement of its administrative subpoena is GRANTED. Respondent
24   SpaceX is ORDERED to comply in full with the subpoena within 21 days.
25
26
27   DATED: June 30, 2021              ___________________________________
                                       DOLLY M. GEE
28                                     UNITED STATES DISTRICT JUDGE
